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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 23-60782-SINGHAL

  MORGAN M. SACCONE,

            Plaintiff,
  v.

  CARSTRADA, INC., et al.,

        Defendants.
  ______________________________

                         MOTION FOR DEFAULT AGAINST DEFENDANT
                                    CARSTRADA, INC.

            Plaintiff, MORGAN M. SACCONE, (“Plaintiff”) files this Motion for Default as to

  Defendant, CASRSTRADA, INC., a Florida corporation (“Defendant”), and states:


            1.      As Plaintiff was unable to effectuate service of process by delivering the summons

  and the Complaint to Defendant via a process server, it was determined that the proper method of

  service in this action was to perfect substituted service upon the Secretary of State, pursuant to Fla.

  Stat. § 48.081(4) (2023) and this Court entered an Order authorizing substitute service. [DE 15].

            2.      On June 30, 2023, the Clerk issued a summons for Defendant to be served upon the

  Secretary of State. [DE 17].

            3.      On July 06, 2023, pursuant to Fla. Stat. § 48.081(4) Plaintiff effectuated service of

  process upon the Defendant through the Online Service of Process portal of the Secretary of State.

            4.      As of the date of this Motion, Defendant has failed to respond despite being dully

  served.

            5.      Accordingly, Plaintiff respectfully submits that she is entitled to the entry of a

  default against Defendant pursuant to Rule 55(a) of the Federal Rules of Civil Procedure.
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         6.      Plaintiff has served a copy of this Motion upon Defendant via U.S. Mail.

         WHEREFORE, Plaintiff, MORGAN M. SACCONE, respectfully requests that a default

  be entered against Defendant, CARSTRADA, INC. and for such other and further relief as the

  Court may deem proper and just.

                                                              Dated: July 28, 2023

                                                              /s/ Joshua E. Feygin
                                                              JOSHUA FEYGIN, ESQ.
                                                              FL Bar No.: 124685
                                                              Email: Josh@JFeyginesq.com
                                                              JOSHUA FEYGIN, PLLC
                                                              1930 Harrison St, Suite 208F
                                                              Hollywood, FL 33020
                                                              Tel: (954) 228-5674
                                                              Fax: (954) 697-0357


                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 28, 2023, I electronically filed the foregoing document
  with the Clerk of Court for the U.S. District Court, Southern District of Florida, using the CM/ECF
  system, and that the foregoing document was served electronically to all counsel of record and a
  copy was mailed by USPS first class mail to: CARSTRADA, INC. c/o its registered agent –
  SIGAL, LILYA 6023 HOLLYWOOD BLVD. HOLLYWOOD, FL 33024.



                                                              /s/ Joshua E. Feygin
                                                              JOSHUA FEYGIN, ESQ.
                                                              FL Bar No.: 124685
